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                                         July 19, 2018


Hon. Lee H. Rosenthal
VIA S.D. TEX. ECF

Re: 4:16-cv-01414 ODonnell v. Harris County, Texas, et al.

Dear Judge Rosenthal:

Judge Darrel W. Jordan does not agree to the settlement currently proposed by 13 of the 14 other
Defendant Judges and the County.

His concerns have been communicated to Ms. Falk.

Yours respectfully,




Allan Van Fleet
